                                    Case 23-18039            Doc       Filed 05/06/24           Page 1 of 5
 Fill in this information to identify the case:
 Debtor 1
                 Deborah Wessells
 Debtor 2

 (Spouse, if filing)
 United States Bankruptcy Court for the: District of Maryland___
                                                             (State)
 Case number 23-18039-LSS



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses and Charges                                                                          12/16
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

Filing this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1

Name of creditor:          Blue Castle (Cayman) LTD.                             Court claim no. (if known):        12


Last four digits of any number you use to
identify the debtor's account:                      W012


Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?
               No


               Yes. Date of the last notice:


 Part 1:        Itemize Postpetiton Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do
not include any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If
the court has previously approved an amount, indicate that approval in parentheses after the date the amount was
incurred.

     Description                                                       Dates incurred                                             Amount



   1. Late charges                                                                                                        (1) $
   2. Non-sufficient funds (NSF) fees                                   03/11/2024                                        (2) $   25.00


   3. Attorney Fees                                                                                                       (3) $


   4. Filing fees and court costs                                                                                         (4) $
   5. Bankruptcy/Proof of claim fees                                   01/16/2024                                         (5) $   550.00
   6. Appraisal/Broker's price opinion fees                                                                               (6) $
   7. Property inspection fees                                                                                            (7) $
   8. Tax advances (non-escrow)                                                                                           (8) $
   9. Insurance advances (non-escrow)                                                                                     (9) $
  10.Property preservation expenses. Specify:                                                                            (10) $
 11.Other. Specify:       Plan Review                                  02/01/2024                                        (11) $   400.00
 12.Other. Specify:       Notice of Appearance                         11/15/2023                                        (12) $   75.00
 13.Other. Specify:       Line of BK Stay                              12/21/2023                                        (13) $   250.00
 14.Other. Specify:       Postage                                      12/21/2023 for $1.89, 01/18/2024 for $1.89        (14) $   3.78

 15. Other: Specify:     Motion to Continue                             01/19/2024                                       (15) $ 325.00
  16. Other Specify:     Title update costs                             11/07/2023                                       (16) $ 65.00
                                Case 23-18039               Doc        Filed 05/06/24             Page 2 of 5


  17. Other Specify: Bond costs                                           11/07/2023                               (17) $ 87.50

  18. Other Specify: Motion Fee - draft opposition to Defendant`s         11/07/2023                               (18) $ 1200.00
  second motion to stay




  Official Form 410S2                   Notice of Postpetition Mortgage Fees, Expenses, and Charges




 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. §1322(b)(5) and Bankruptcy Rule 3002.1.




Official Form 410S2                    Notice of Postpetition Mortgage Fees, Expenses, and Charges                                Page 1
                                    Case 23-18039                  Doc        Filed 05/06/24          Page 3 of 5
Debtor 1     Deborah Wessells                                                            Case Number (if known)   23-18039-LSS

             First Name               Middle Name            Last Name



Part 2:          Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box


       I am the creditor.
       I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.


  /s/ _Mark D. Meyer Date 05/06/2024
     Signature



 Print:                   Mark D. Meyer, 15070 Title         Bankruptcy Attorney
                          First name Middle Name Last name



 Company                  Rosenberg & Associates, LLC

 Address                  4340 East West Highway, Suite 600
                          Number                  Street

                          Bethesda , MD 20814
                          City                    State      Zip Code


 Contact phone            301-907-8000                       Email:      mark.meyer@rosenberg-assoc.com




Official Form 410S2                         Notice of Postpetition Mortgage Fees, Expenses, and Charges                          Page 2
                                               Case 23-18039   Doc    Filed 05/06/24   Page 4 of 5




                                                        UNITED STATES BANKRUPTCY COURT
                                                         FOR THE DISTRICT OF MARYLAND
                                                                   GREENBELT

                              IN RE

                              DEBORAH WESSELLS                                  Chapter 13
                                                                                Case NO. 23-18039-LSS
                                   Debtor(s)
                              BLUE CASTLE (CAYMAN) LTD.
                              8180 E. Kaiser Blvd.
                              Anaheim Hills, CA 92808

                                   Movant                                       Motion No.
                              v.

                              Deborah Wessells
                              820 Tritapoe Drive
                              Knoxville, MD 21758




                                   Respondent(s)



                                                               CERTIFICATE OF SERVICE
                                    I hereby certify that on the 6th day of May 2024, I reviewed the Court’s CM/ECF
       Mark D. Meyer
      MD BAR 15070
Rosenberg & Associates, LLC
                              system and it reports that an electronic copy of the Notice of Post Petition Fees will be
 4340 East West Highway,
  Suite 600 Bethesda, MD      served electronically by the Court’s CM/ECF system on the following:
 20814 301-907-8000 File
Number: 23-000627-MD-B-8

                              Rebecca A. Herr, Trustee
                              David Erwin Cahn, Esquire

                                    I hereby further certify that on 6th day of May 2024, a copy of the Notice of
                              Post Petition Fees was also mailed first class mail, postage prepaid to:


                              Deborah Wessells
                              820 Tritapoe Drive
                              Knoxville, MD 21758
             Case 23-18039   Doc    Filed 05/06/24   Page 5 of 5




Respectfully Submitted,

 /s/ Mark D. Meyer
Mark D. Meyer, Esq. # 15070
Rosenberg & Associates, LLC
4340 East West Highway, Suite 600
Bethesda, MD 20814
301-907-8000
